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12
                         UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                               REPLY MEMORANDUM IN
17   THIS DOCUMENT RELATES TO                  SUPPORT OF PLAINTIFFS’
     ALL ACTIONS                               MOTION IN LIMINE NO. 2 TO
18                                             EXCLUDE IMPROPER EVIDENCE
                                               AND ARGUMENT REGARDING
19                                             THE RELIEF SOUGHT BY
                                               PLAINTIFFS
20
                                               JUDGE: Hon. Philip S. Gutierrez
21                                             DATE: May 17, 2024
                                               TIME: 2:30 p.m.
22                                             COURTROOM:
                                                First Street Courthouse
23                                              350 West 1st Street
                                                Courtroom 6A
24                                              Los Angeles, CA 90012
25

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 1                                     INTRODUCTION
 2          In response to Plaintiffs’ second motion in limine, the NFL Defendants now
 3   concede that this Court should ban any mention of (1) injunctive relief; (2) the “pass
 4   on” of overcharges; (3) damages mitigation; or (4) any supposed fault from class
 5   members’ decision to subscribe to Sunday Ticket. As to those safeguards at trial,
 6   there is consensus. But the NFL Defendants also confirm that, if permitted, they will
 7   try to offer other irrelevant and prejudicial evidence, argument, and terminology—
 8   ranging from using the loaded term “refunds” in describing antitrust damages to
 9   arguments about the “impact of eliminating the challenged conduct” in the future to
10   arguments about subjective perceptions of product quality in the rule of reason
11   analysis. This Court should not permit it.
12                                        ARGUMENT
13   I.     This Court Should Prohibit Evidence or Argument Concerning What
14          Changes May Occur in the Future in the Distribution or Availability of
15          NFL Game Telecasts if the Jury Finds in Favor of Plaintiffs.
16          The NFL Defendants agree that this Court should bar any reference to the fact
17   that Plaintiffs are seeking and may be entitled to permanent injunctive relief under
18   the federal antitrust laws. The NFL Defendants effectively acknowledge, as Plaintiffs
19   observed in their opening brief, that “there is no reason to inform the jury of the
20   Clayton Act’s features other than to sow confusion and invite prejudice, including by
21   . . . ‘warning’ the jury of the potential implications of injunctive relief, so as to evade
22   liability.” Mot. at 3. Even in their own words, the NFL Defendants embrace a
23   “prohibition on discussion of whether the Court might enter an injunction and any
24   speculation as to what such an injunction might do.” Opp’n at 3. Something remains
25   of their opposition to Plaintiffs’ Motion in Limine #2, however, which only
26   underscores the need for these protections.
27          The NFL Defendants’ only residual ground for opposition—to preserve the
28   ability to address “the scope of Plaintiffs’ damages claims” and the “‘but-for’ world
                                                  1
          REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
           IMPROPER EVIDENCE AND ARGUMENT REGARDING THE RELIEF SOUGHT BY PLAINTIFFS
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 1   that in Plaintiffs’ view would have occurred,” Opp’n at 1-2—is a decoy. Plaintiffs
 2   have never suggested a trial without mention of the historical “but-for world absent
 3   the challenged conduct.” Id. at 3. That will unquestionably be a focus of expert
 4   testimony. And what Defendants charitably refer to as a “discussion of the harms to
 5   competition and to consumers that would arise from the removal of the challenged
 6   restraints” is merely an articulation of their burden of proof at trial to prove any pro-
 7   competitive justifications for the restraints at issue (and their magnitude), subject to
 8   balancing against the anticompetitive harms caused by those restraints. Id. at 2-3
 9   (“the rule of reason permits Defendants to offer procompetitive rationales for the
10   challenged restrictions”). The NFL Defendants’ recitation of the rule of reason as
11   somehow considering harms to competition from the removal of the restraints has it
12   backwards. Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 985-86 (9th Cir. 2023)
13   (“Epic Games”), cert. denied, ___ S. Ct. ___, 2024 WL 156473 (S. Ct. Jan. 16, 2024).
14         Lurking amid this confusion is a real threat, however. In various places, the
15   NFL Defendants hint that they might still try to suggest that the jury should speculate
16   about forward-looking changes—Plaintiffs’ only concern here—without doing so
17   “explicitly.” Opp’n at 1-4. Why else include that qualifier when reporting that
18   “Defendants do not intend, and agree that neither side should, offer evidence or
19   argument that explicitly discusses the potential for future injunctive relief”? Id. at 1
20   (emphasis added). Indeed, the NFL Defendants welcome only a “narrow restriction”
21   while opposing “any constraints on their ability to describe and critique the “but-for”
22   world that in Plaintiffs’ view would have occurred,” i.e., in the future, “in the
23   absence of the challenged conduct.” Id. at 2 (emphasis added). Elsewhere, the NFL
24   Defendants even hold open the possibility of explicitly mentioning injunctive relief
25   when cross-examining Plaintiffs’ economic expert. Id. at 3 (flagging possibility of
26   “reference to injunctive relief” in cross-examining Plaintiffs’ expert Dr. Rascher).
27         This Court should eliminate these possibilities, which present the same hazards
28   that Plaintiffs raised in their opening brief. None of the cases cited by either party
                                                2
        REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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 1   endorses the distinction that the opposition raises, nor have the NFL Defendants
 2   explained why implicit discussion of injunctive relief and forward-looking changes,
 3   in whatever form, would not likewise prejudice Plaintiffs and cause juror confusion.
 4   Id. at 3 (recasting Plaintiffs’ prejudice concerns incorrectly as arising only “from
 5   explicit discussion of injunctive relief”). The opposition sidesteps the fact that every
 6   federal court nationwide to consider the issue (that Plaintiffs could find) has barred
 7   the defendant from referring to injunctive relief in the presence of the jury in any
 8   form. See Mot. at 1-4 n.4. And instead of furnishing additional authorities that might
 9   support their position, the NFL Defendants insist, without elaboration, that those
10   holdings were “exceedingly narrow” or lacked sufficient reasoning, which misses the
11   point and is inaccurate in any event. Opp’n at 1 n.1; see Mot. at 1-4.
12         The NFL Defendants hang their hat on the preservation in Amdocs of
13   “defendant’s ability to cross-examine the [plaintiffs’] damages expert,” including by
14   “reference to injunctive relief i[f] relevant to that cross-examination.” Id. at 1
15   (emphasis added). But here, unlike in Amdocs, the NFL Defendants have not even
16   attempted to show that injunctive relief might be relevant to any cross-examination
17   of Plaintiffs’ experts. On the contrary, the portions of Dr. Rascher’s and Dr.
18   Bernheim’s reports identified by the NFL Defendants concern only Dr. Rascher’s
19   retrospective damages analysis and historical but-for worlds. See infra at 4-5.
20         To be sure, Plaintiffs take no issue with either party addressing “Plaintiffs’
21   asserted but-for worlds” at trial (or for that matter the NFL Defendants’ “full defense
22   to claims of anticompetitive effects, injury, and damages” Opp’n at 3-4)—but those
23   “but-for worlds” are strictly retrospective, illustrating what a world absent the
24   anticompetitive conduct would have looked like between June 17, 2011 and February
25   7, 2023. See Order Granting Plaintiffs’ Motion for Class Certification, ECF No. 894,
26   at 11-13 (detailing Dr. Rascher’s three but-for worlds). There is no place at trial for
27   jury argument about the implications of those but-for worlds for the future, which
28   would—in the words of the last federal court to consider the NFL Defendants’
                                                3
        REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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 1   position—“needlessly confuse the issues and unfairly prejudice plaintiffs” by
 2   requiring “consider[ation] of the ‘impact’ of uncertain injunctive relief.” U.S.
 3   Football League v. Nat’l Football League, No. 84-7484, 1986 WL 7012, at *2-3
 4   (S.D.N.Y. June 17, 1986) (prohibiting the NFL Defendants “from referring to the
 5   possibility of injunctive relief” without distinguishing between explicit and implicit
 6   references); see Broadcom Corp. v. Emulex Corp., No. CV 10-03963, 2011 WL
 7   13130705, at *1 (C.D. Cal. Aug. 10, 2011) (“[R]eference to the possibility of
 8   injunctive relief could distract the jury from its job of determining whether and in
 9   what amount damages should be awarded.”) (emphasis added). This Court alone will
10   determine whether injunctive relief is appropriate and, if so, the scope of that
11   injunctive relief. 15 U.S.C. § 26.
12         Given the NFL Defendants’ ambiguous responses to date and the possibility
13   of subterfuge at trial, Plaintiffs request an unmistakable ruling that the NFL
14   Defendants cannot evade through creativity. This Court should make clear that the
15   NFL Defendants cannot argue or offer any evidence suggesting that a verdict for
16   Plaintiffs would in any way alter the current broadcast arrangements, cause over-the-
17   air broadcasts to disappear, or disrupt the fabric of professional football in the United
18   States. Those arguments are inherently speculative, would perforce take whatever
19   injunctive relief the Court might order into account, and are legally and factually
20   inaccurate: a jury verdict for Plaintiffs would result only in an award of damages
21   determined by the jury, even if it would also invite this Court’s consideration of
22   additional relief. Such arguments would also encourage the jury to speculate on how
23   the NFL’s current agreements with broadcast networks might change, and what such
24   a world should look like in the future. The jury is only to assess past conduct and
25   determine damages for harm inflicted as a result of that past conduct.
26         Consider an extreme example. One of the NFL Defendants’ experts, Dr.
27   Douglas Bernheim, opines that the restraints are, and were, essential to fostering
28   competitive balance (which, he reasons, increases output) and maintaining
                                                4
        REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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  1   investment in player salaries. Plaintiffs and their experts disagree, of course, with
  2   considerable supporting evidence, but that is beside the point for purposes of this
  3   motion in limine. The prejudice to Plaintiffs would be enormous if the NFL
  4   Defendants could argue to the jury, incorrectly, that a liability determination would
  5   harm NFL players down the road. This Court can prevent any such misdirection with
  6   clear guidance now.
  7   II.     This Court Should Prohibit Evidence or Argument Concerning
  8           Subjective Views of Product Quality (Standing Alone) as a Procompetitive
  9           Justification Untethered to the Restraints at Issue Here.
 10           The NFL Defendants’ approach is also apparent in their opposition to any ban
 11   on evidence or argument “concerning any financial benefit or ‘pass on’ of any
 12   overcharge, any supposed failure to mitigate damages, and any supposed fault from
 13   Plaintiffs’ consumer choices. Opp’n at 4. They call Plaintiffs’ request “vague,” but
 14   the supporting caselaw is legion, as Plaintiffs detailed in their opening brief and to
 15   which the NFL Defendants have not responded. 1 Instead, the NFL Defendants grant
 16   that they cannot “argue [at trial] that Plaintiffs’ damages should be reduced to the
 17   extent that they increased their prices or made additional sales to consumers,” but
 18   that is of course only a fraction of what Plaintiffs seek by their Motion in Limine No.
 19   2. Opp’n at 4 (suggesting “relief beyond those narrow confines is not justified”).
 20           The crux of the NFL Defendants’ remaining opposition is that class members’
 21   purchasing history for Sunday Ticket, “including how much Plaintiffs actually paid
 22   for the product, as well as its quality and value” is “essential to the rule of reason
 23

 24
      1
        The NFL Defendants commit not to attribute “blame” to Plaintiffs’ consumer
      choices or to suggest a “pass on” of any overcharge, confirming again those portions
 25   of Plaintiffs’ Motion in Limine No. 2 that are agreed among the parties. Opp’n at 4
      (“Defendants will not argue that Plaintiffs’ damages should be reduced to the extent
 26   that they increased their prices or made additional sales to consumers.”), id. at 6
      (“This evidence will not be used to assert a ‘pass-through’ defense, meaning that the
 27   NFL Defendants will not argue that the commercial benefits that Plaintiffs received
      should be deducted from any damages that they can prove.”), id. at 7 (“None of this
 28   evidence suggests any ‘blame’ to be attributed to Plaintiffs, or any other potential
      source of improper prejudice.”).
                                                5
            REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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  1   analysis,” which is not quite right. Opp’n at 4. The rule of reason concerns the
  2   anticompetitive and procompetitive aspects of a given restraint and asks whether the
  3   restraint harmed competition (and to what extent) and, if so, whether the restraint
  4   benefitted competition (and to what extent) in the absence of a less restrictive
  5   alternative. Epic Games, 67 F.4th at 987. In the words of the Supreme Court, the
  6   “essential inquiry” is “whether or not the challenged restraint enhances competition.”
  7   NCAA v. Bd. of Regents of the University of Oklahoma, 468 U.S. 85, 104 (1984).
  8         But for nearly 50 years, the Supreme Court has held that “product quality” is
  9   not an independent procompetitive justification in and of itself (i.e., when untethered
 10   to the restraint). F.T.C. v. Indiana Fed’n of Dentists, 476 U.S. 447, 463 (1986)
 11   (rejecting as illegitimate “noncompetitive quality-of-service justifications”); Nat’l
 12   Soc’y of Pro. Eng’rs v. United States, 435 U.S. 679, 685, 694-95 (1978) (“quality of
 13   engineering” could not justify a ban on competitive bidding because it is “th[e]
 14   restraint that must be justified under the Rule of Reason”). Rather, to the extent a
 15   defendant asserts product quality as a procompetitive effect, the rule of reason
 16   examines whether, by imposing the restraint, the defendant has materially improved
 17   product quality. NCAA v. Alston, 141 S. Ct. 2141, 2152 (2021) (discussing the lack
 18   of support for the NCAA’s argument that its “compensation restrictions play a role
 19   in consumer demand”); Epic Games, 67 F.4th at 987 (asking whether the defendant
 20   has “tapp[ed] into consumer demand and different[iated] its products from those of
 21   its competitors” by the restraint); F.T.C. v. Qualcomm Inc., 969 F.3d 974, 991 (9th
 22   Cir. 2020) (“If the monopolist asserts a procompetitive justification—a nonpretextual
 23   claim that its conduct is indeed a form of competition on the merits because it
 24   involves, for example, greater efficiency or enhanced consumer appeal—then the
 25   burden shifts back to the plaintiff to rebut that claim.”) (quoting United States v.
 26   Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001)) (emphasis added); O’Bannon v.
 27   Nat’l Collegiate Athletic Ass’n, 802 F.3d 1049, 1072 (9th Cir. 2015) (same).
 28

                                                6
         REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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  1         As such, the upcoming trial is not about whether class members enjoy
  2   watching televised out-of-market NFL games but instead concerns (among other
  3   things) whether the restraints at issue have somehow increased product quality. The
  4   NFL Defendants acknowledge as much, at least in passing, when they state that they
  5   will “present evidence that the challenged restraints improve quality in multiple
  6   ways, including by incentivizing investment in game telecasts through video
  7   production, technological advancement, and superior game commentary.” Opp’n at
  8   7 (emphasis added). But whether “Sunday Ticket was a high quality, high-demand
  9   product,” Opp’n at 4, without more, tells us nothing about any supposed
 10   procompetitive effects of the NFL Defendants’ conduct.
 11         Viewed through this lens, the Defendants may present any evidence that the
 12   challenged restraints measurably improved the quality of NFL game telecasts. The
 13   Defendants may not, however, prejudice Plaintiffs by extolling the supposed
 14   downstream economic benefits of Sunday Ticket to commercial subscribers (or any
 15   supposed product satisfaction among residential subscribers) divorced from their
 16   arguments that the challenged restraints have improved the quality of all NFL game
 17   telecasts. Opp’n at 5 (insisting, for example, that the NFL Defendants “should be
 18   allowed to elicit evidence that the commercial class used Sunday Ticket to attract and
 19   retain customers, and earn more money”). The case law is very clear on this point,
 20   and the NFL Defendants offer no response. Mot. at 5-6; see, e.g., Braintree Labs.,
 21   Inc. v. McKesson Corp., No. 11-80233, 2011 WL 5025096, at *3 (N.D. Cal. Oct. 20,
 22   2011) (“[A] plaintiff’s alleged benefit from a defendant’s anti-competitive behavior
 23   … is not relevant to whether the plaintiff [direct purchaser] suffered a cognizable
 24   antitrust injury. … [T]he relevant question is whether the plaintiff paid an
 25   overcharge.”); In re Urethane Antitrust Litig., No. 2:08-5169, 2015 WL 9294670, at
 26   *2 (D.N.J. Dec. 21, 2015) (“[T]he probative value of the proffered [downstream]
 27   evidence is low. The risk of prejudice, on the other hand, is high.”); Columbus
 28   Drywall & Insulation, Inc. v. Masco Corp., No. 1:04-cv-3066, 2012 WL 12540321,
                                                7
         REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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  1   at *2 (N.D. Ga. July 17, 2012) (granting plaintiffs’ motion in limine to exclude
  2   plaintiffs’ financial information and noting that “[u]nder Hanover Shoe and its
  3   progeny, plaintiffs’ financial information is irrelevant to any issue in this case”).
  4         For the same reasons, the NFL Defendants’ argument that they should be able
  5   to present evidence and argument that class members “repeatedly purchased the
  6   Sunday Ticket product—even after alleging in litigation that it was overpriced,”
  7   Opp’n at 7, is legally irrelevant. Victims of anticompetitive conduct often keep
  8   purchasing an “overpriced” product, even after litigation commences, and those
  9   continuing purchases do not “demonstrate[] the reasonableness of, and
 10   procompetitive justifications for, Defendants’ conduct.” Id. (emphasis added).
 11         The NFL Defendants’ strategy to “present evidence that Sunday Ticket was a
 12   high quality, high-demand product,” Opp’n at 4, through the testimony of class
 13   representatives has another fatal flaw as well. The class representatives’ claims are
 14   of course typical of the classes’ claims, and the class representatives will continue to
 15   fairly and adequately protect the interests of the classes. See Fed. R. Civ. P. 23(a).
 16   But an individual class member’s subjective and anecdotal views about Sunday
 17   Ticket product quality, standing alone, cannot be probative of the NFL Defendants’
 18   procompetitive justification; for that, they will need to make use of reliable expert
 19   analysis, quantitative methods, economics, testimony from qualified witnesses,
 20   and/or relevant business records. See John M. Newman, Procompetitive
 21   Justifications in Antitrust Law, 94 Ind. L.J. 501, 502-30 (2019); Phillip Areeda, The
 22   Rule of Reason – a Catechism on Competition, 55 Antitrust L.J. 571, 578-79 (1986)
 23   (emphasizing    the   “objective”    standard    used   to   measure     procompetitive
 24   justifications). By contrast, the idiosyncratic views of an individual subscriber for
 25   product quality would prove nothing and mislead the jury. And the NFL Defendants
 26   seem to agree. In other contexts, the NFL Defendants have disparaged the utility of
 27   class members’ views about Sunday Ticket, even in the aggregate. For example,
 28   when challenging the testimony of Plaintiffs’ survey expert Sarah Butler, the NFL
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  1   Defendants asserted that conclusions drawn from 195 class members “would be
  2   unreliable given [the “small sample”] size and subject to large sampling errors.”
  3   Butler Daubert Mot., ECF No. 674, at 11. Plaintiffs disagreed with that assertion, as
  4   did this Court (Order Granting Plaintiffs’ Motion for Class Certification, ECF No.
  5   894, at 7-9), but the point remains: the NFL Defendants cannot have it both ways
  6   now in demanding the views of a lone class member or two about product quality,
  7   which could not satisfy their burden of proof in any event.
  8   III.     This Court Should Prohibit Evidence or Argument about “Refunds”
  9            When All Parties, This Court, the Model Jury Instructions, and the
 10            Clayton Act Speak of Antitrust “Damages” or “Overcharges”.
 11            The NFL Defendants also confirm their intention to wield the loaded language
 12   of “refunds” before the jury instead of simply “damages” or “overcharges,” which is
 13   how this Court, the NFL Defendants, and Plaintiffs (and numerous other sources,
 14   including the American Bar Association’s Model Jury Instructions in Civil Antitrust
 15   Cases) have consistently referred to the monetary relief Plaintiffs are seeking. In
 16   substituting their preferred terminology, the NFL Defendants contend that “refund”
 17   is merely “clear, descriptive language” used to describe “the return of money to a
 18   person who overpaid.” Opp’n at 8. But “refund” signifies something more in
 19   common usage. In everyday parlance, customers are entitled to a refund for a
 20   defective product that does not work or sometimes by contract if the consumer is
 21   dissatisfied with the product. Oxford Languages defines a refund as “a repayment of
 22   a sum of money, typically to a dissatisfied customer,” as does the Cambridge
 23   Dictionary (“an amount of money that is given back to you, especially because you
 24   are not happy with a product or service that you have bought”). See, e.g.,
 25   https://www.google.com/search?client=firefox-b-1-d&q=refund+definition#ip=1
 26   (emphasis       added);   https://dictionary.cambridge.org/us/dictionary/english/refund
 27   (emphasis added). Neither describes Plaintiffs’ efforts to recoup overcharges for
 28   anticompetitive conduct here as “private attorneys general” authorized and
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  1   encouraged by Congress. Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 262
  2   (1972). Nor should the NFL Defendants be permitted to tarnish Plaintiffs as simply
  3   disgruntled customers before the jury.
  4         The absence of “refund” in this litigation to date confirms the prejudice and
  5   imprecision associated with that word. Across more than 1,500 pages of expert
  6   reports exchanged in this case, spanning ten experts, no expert has ever used the term
  7   “refund” to describe the damages sought by Plaintiffs—whereas “damages” and
  8   “overcharges” appear over 100 times. This Court’s detailed class-certification and
  9   summary-judgment decisions likewise never use the word “refund.” ECF No. 894
 10   (39 instances of “damage[s]” or “overcharge[s]”); ECF No. 1155 (10 instances of
 11   “damage[s]” or “overcharge[s]”). And the same is true of the Ninth Circuit’s decision
 12   in this case. In re Nat’l Football League’s Sunday Ticket Antitrust Litig., 933 F.3d
 13   1136, 1144 (9th Cir. 2019) (8 instances of “damage[s]” or “overcharge[s]”; zero
 14   instances of “refund”).2
 15         Most telling, however, is the absence of “refund” from the American Bar
 16   Association’s Model Jury Instructions in Civil Antitrust Cases. See ABA Model Jury
 17   Instructions in Civil Antitrust Cases, ABA Section of Antitrust Law (2016 ed.). And
 18   that makes sense: The Clayton Act authorizes private civil suits for treble “damages,”
 19   which, mechanically speaking, almost never equals a “refund” in the sense of a return
 20   of precisely the amount paid (providing yet another reason not to use that word). 15
 21   U.S.C. § 15. Contrast all of that with a handful of times when class members did
 22   receive a refund related to Sunday Ticket (disconnected from the claims asserted
 23   here), as when DirecTV experienced an outage that prevented access to Sunday
 24

 25

 26
      2
        “Refund” also cannot be found in Plaintiffs’ complaint, the NFL Defendants’
      answer, or either party’s recent contentions of fact and law. See Sec. Am. Compl.
 27   (ECF No. 441), NFL Defendants’ Answer to Plaintiffs’ Second Consolidated
      Amended Complaint for Damages and Declaratory and Injunctive Relief (ECF No.
 28   442), Pls.’ Mem. of Contentions of Fact and Law (ECF No. 1187), Defs.’ Mem. of
      Contentions of Fact and Law (ECF No. 1185).
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  1   Ticket, see, e.g., Frantz Dep. 110:13-25—and you have a recipe for jury confusion.
  2   See Exhibit 1 to the Declaration of Sathya S. Gosselin.
  3         Against this, the NFL Defendants muster a handful of opinions, many of which
  4   come from outside this circuit or do not concern antitrust, that use the word “refund”
  5   in some way. Those few decisions do not make the word “routine[]” when describing
  6   antitrust overcharges to a jury. Opp’n at 8. Quite the opposite, none of those
  7   authorities concerns motions in limine, jury instructions, or the Federal Rules of
  8   Evidence. See, e.g., In re W. States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716,
  9   738 (9th Cir. 2013) (“In re W. States Wholesale Nat. Gas”) (appellate review of
 10   orders granting summary judgment, dismissal of defendants, and denials of leave to
 11   amend while also distinguishing between “a treble damages claim under the Colorado
 12   state antitrust statute” and a claim under a different Colorado antitrust statute
 13   expressly permitting “refunds” for void contracts); Albert v. Glob. Tel*Link, 68 F.4th
 14   906, 908 (4th Cir. 2023) (appellate review of dismissal for failure to plead facts that
 15   satisfy RICO’s proximate-causation requirement); Taffet v. S. Co., 967 F.2d 1483,
 16   1485 (11th Cir. 1992) (appellate review of dismissal of RICO complaints premised
 17   on the filed-rate doctrine, the primary jurisdiction doctrine, the clear statement
 18   doctrine, and abstention based upon federalism interests); South Carolina v. LG
 19   Display Co., Ltd., No. 3:11-cv-00729, 2011 WL 4344074, at *1 (D.S.C. Sept. 14,
 20   2011) (granting motion to remand to state court for lack of diversity under the Class
 21   Action Fairness Act), appeal granted, order aff'd sub nom. AU Optronics Corp. v.
 22   South Carolina, 699 F.3d 385 (4th Cir. 2012); In re Int’l Air Transp. Surcharge
 23   Antitrust Litig., No. C 06-01793, 2008 WL 4766824, at *1 (N.D. Cal. Oct. 31, 2008)
 24   (awarding attorneys’ fees and costs while also referencing “the unlawful
 25   overcharge”); Colo. Civil Rights Com’n v. Wells Fargo Bank and Co., 2011 WL
 26   2610205 (D. Colo. July 1, 2011) (using the term “refund” in reference to another
 27   case, in Connecticut, involving various claims by Connecticut for violations of state
 28   law); In re Title Ins. Antitrust Cases, 702 F. Supp. 2d 840 , 897(N.D. Ohio 2010) (the
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  1   use of the term “refund” was in the context of a rate “refund” in connection with the
  2   filed rate doctrine); Util. Choice, L.P. v. TXU Corp., 2005 WL 3307524 (S.D. Tex.
  3   Dec. 6, 2005) (same).
  4         In fact, some of those cases distinguish between refunds and damages. See,
  5   e.g., In re W. States Wholesale Nat. Gas, 715 F.3d at 738 (“Plaintiffs have been aware
  6   of the availability of an actual damages claim under the Colorado antitrust statutes
  7   since the inception of the case, but chose to plead under the full refund provision
  8   only.”); Moehrl v. Nat’l Ass’n of Realtors, No. 19-cv-01610, 2023 WL 2683199, at
  9   *20 (N.D. Ill. Mar. 29, 2023) (contrasting Plaintiffs’ damages “as opposed to a full
 10   refund . . . and forgo the more complex task of determining which class members are
 11   entitled to a full refund.”); Marcello v. U.S. I.R.S., No. RDB-08-2796, 2010 WL
 12   9478985, at *3 (D. Md. Apr. 21, 2010) (a “claim for damages, however, is distinct
 13   from a claim for refund and abatement”).
 14         Nor do the numbers favor the NFL Defendants’ terminology in any event. A
 15   search on Westlaw of federal court opinions using the terms “antitrust” and
 16   “overcharge” or “overcharges” yields 3,720 results, and the same search using the
 17   terms “antitrust” and “damages” reveals over 10,000 results. The NFL Defendants,
 18   meanwhile, have found only six antitrust-related cases that use the word “refund”—
 19   but never in front of a jury.
 20         The prejudice to Plaintiffs is plain as well. The NFL Defendants hope to raise
 21   a straw man at trial by using the language of “refunds” to suggest that a class member
 22   was dissatisfied with the product (as opposed to antitrust injury and overcharges, as
 23   the Sherman Act envisions) and then eliciting testimony and using deposition
 24   designations that describe how class members chose to watch out-of-market NFL
 25   telecasts on Sunday Ticket and resubscribed despite the towering price, including
 26   because they had no other options. See ECF No. 1155 at 10 (emphasizing that Sunday
 27   Ticket on DirecTV was the only option for consumers who wished to view out-of-
 28   market NFL game telecasts). But dissatisfaction with the product or service is not an
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  1   element of a Sherman Act claim, nor is there any requirement of discontinuing
  2   purchases to pursue antitrust litigation, particularly where the only avenue to watch
  3   live, out-of-market games is through Sunday Ticket. If those things were true,
  4   companies with high customer satisfaction would be effectively immune from
  5   antitrust litigation, as would pharmaceutical companies that manufacture essential
  6   medicines, which is certainly not the case.
  7           For all these reasons, the Court should forbid the lexicon of “refunds” at trial.
  8   Prejudice is inevitable; the word lacks any independent probative value; and there
  9   are more precise terms that this Court and the parties have used throughout this
 10   litigation.
 11   IV.     This Court Should Prohibit Evidence or Argument about Any Supposed
 12           Failure to Mitigate Damages, Which Is Not a Defense Available to the
 13           NFL.
 14           Deepening the confusion, the NFL Defendants are mum as to Plaintiffs’
 15   request to bar evidence or argument related to any supposed failure to mitigate
 16   damages. But in their separate contentions of fact and law, the NFL Defendants
 17   assert—incorrectly—that “Plaintiffs may not recover damages for any portion of
 18   their injuries that they could have avoided through the exercise of reasonable care
 19   and prudence.” ECF No. 1185 at 12. That misstates the law and the underlying model
 20   jury instructions.
 21           As Plaintiffs explained in their opening brief, Mot. at 6, antitrust courts do not
 22   recognize a duty to mitigate damages arising from horizontal restraints that cause
 23   supracompetitive prices. See In re Airline Ticket Comm’n Antitrust Litig., 918 F.
 24   Supp. 283, 286 (D. Minn. 1996) (“In re Airline Ticket Comm’n”) (denying mitigation
 25   defense when plaintiffs sought overcharge damages caused by buyer cartel); In re
 26   Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2016 WL 6216664, at *11
 27   (N.D. Cal. Oct. 25, 2016) (“Defendants are precluded from presenting evidence or
 28   argument suggesting the DAPs mitigated, or could have mitigated, their damages by
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  1   increasing the prices they charged their customers.”); In re TFT-LCD (Flat Panel)
  2   Antitrust Litig., Nos. M 07-1827, 10-1064, 2012 WL 6000154, at *3 (N.D. Cal. Nov.
  3   30, 2012) (“In re TFT-LCD (Flat Panel)”) (“the Court declines to hold that
  4   defendants may assert mitigation as a defense to Dell’s horizontal price-fixing
  5   claim”); In re Static Random Access Memory (SRAM) Antitrust Litig., No. 07-md-
  6   01819, 2010 WL 10086747, at *2 (Dec. 16, 2010) (granting unopposed motion in
  7   limine to exclude “arguments or evidence that Plaintiffs failed to mitigate
  8   damages.”).
  9            Instead of responding to those authorities, the NFL Defendants lean on the
 10   American Bar Association’s Model Jury Instruction No. 14 (“Mitigation”) but
 11   misinterprets its application here. As the notes makes clear, Model Jury Instruction
 12   No. 14 is inapplicable to horizontal arrangements in which an antitrust plaintiff
 13   “could [not] reasonably be expected to mitigate damages by finding another
 14   supplier,” as with “a victim of horizontal price-fixing [that] does not have this
 15   option.” Notes to the American Bar Association’s Model Jury Instructions in Civil
 16   Antitrust Cases, Model Jury Instruction No. 14 (quoting In re TFT-LCD (Flat Panel),
 17   2012 WL 6000154, at *3; In re Airline Ticket Comm’n, 918 F. Supp. at 286). Those
 18   notes cite the same authorities that Plaintiffs called on in their opening brief—to
 19   preclude this evidence or argument. And, as this Court has recognized, class
 20   members that wanted to watch out-of-market NFL telecasts had nowhere else to turn
 21   during the class period in any event; it was Sunday Ticket or nothing. ECF No. 1155
 22   at 10.
 23            The NFL Defendants’ remaining citations cannot save their arguments either.
 24   For example, JUUL Labs, Inc. v. Chou, No. CV 21-3056, 2023 WL 3886046, at *14
 25   (C.D. Cal. June 8, 2023)—the NFL Defendants’ only case within the Ninth Circuit—
 26   was a trademark-infringement suit and discussed the affirmative defense of failure-
 27   to-mitigate only in that context. Fishman v. Est. of Wirtz, 807 F.2d 520, 556-57 (7th
 28   Cir. 1986), dealt with antitrust but was a vertical refusal-to-deal case, where
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  1   mitigation can be a defense. So too in Steward Health Care Sys., LLC v. Blue Cross
  2   & Blue Shield of Rhode Island, 311 F. Supp. 3d 468, 511 (D.R.I. 2018), and Golf
  3   City, Inc. v. Wilson Sporting Goods, Co., 555 F.2d 426, 436 (5th Cir. 1977) (“Golf
  4   City”), both vertical refusal-to-deal instances in which the plaintiff businesses
  5   downstream had opportunities to mitigate their damages by sourcing elsewhere—
  6   unlike here. E.g., Golf City, 555 F.2d at 436 (“Golf City might have mitigated its
  7   damages in either of two ways: (1) It might have purchased ‘leaked’ pro line
  8   equipment from pro shops. (2) It might have attempted to increase its volume of
  9   store-line merchandise to compensate for the inability to obtain pro-lines goods.”).
 10         As a result, the NFL Defendants are mistaken in suggesting “the law requires
 11   an injured party [here] to take all reasonable steps it can to avoid further injury and
 12   thereby reduce its loss.” ECF No. 1185 at 12. There is no such requirement in this
 13   case—or for that matter any steps that class members could have taken short of
 14   discontinuing all purchases (which not even the NFL Defendants’ preferred
 15   authorities propose). Given the absence of any such defense, this Court should not
 16   permit the NFL Defendants to confuse the jury and prejudice Plaintiffs by mentioning
 17   damages mitigation.
 18                                     CONCLUSION
 19         For the foregoing reasons, Plaintiffs respectfully request that the Court grant
 20   Plaintiffs’ second motion in limine, including with the clarifications necessitated by
 21   the NFL Defendants’ responses.
 22

 23   Dated: February 9, 2024                Respectfully submitted,
 24

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  7                                        Plaintiffs’ Co-Lead Counsel
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